Case 9:23-cv-80903-DMM Document 6 Entered on FLSD Docket 07/05/2023 Page 1 of 10




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                                      CASE NO. 9:23-CV-80903

  DUQUESNE SAINT-SURIN,

         Plaintiff,

  v.

  THE BREAKERS PALM BEACH, INC,
  a Florida Limited Liability Company,

         Defendant.
                                                /

       ANSWER TO PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

         COMES NOW, Defendant, THE BREAKERS PALM BEACH, INC. (“The Breakers”),

  by and through undersigned counsel, and states:

  1.     Plaintiff, DUQUESNE SAINT-SURIN, by and through his undersigned attorney, alleges

  the following against Defendant, THE BREAKERS PALM BEACH, INC., a Florida corporation,

  and states to wit:

  RESPONSE: The Breakers denies the allegations in Paragraph 1, except to admit for

  jurisdictional purposes only that Plaintiff purports to bring a cause of action. The Breakers

  denies that Plaintiff is entitled to any relief, denies that Plaintiff has stated legally cognizable

  claims, and denies any liability.

                                              PARTIES

  2.     At all times material to this action, Plaintiff, DUQUESNE SAINT-SURIN, is/was a

  resident(s) of Palm Beach County, Florida, is over the age of 18, and is otherwise sui juris.
Case 9:23-cv-80903-DMM Document 6 Entered on FLSD Docket 07/05/2023 Page 2 of 10




  RESPONSE: The Breakers is without knowledge of the allegations in Paragraph 2 and

  therefore denies the same.

  3.     At all relevant times, Defendant, THE BREAKERS PALM BEACH, INC., is a Florida

  corporation, located in Palm Beach County, Florida.

  RESPONSE: The Breakers admits that it is a Florida corporation that does business in Palm

  Beach County, Florida.

                                  JURISDICTION AND VENUE

  4.     The Court has jurisdiction over the lawsuit because the suit arises under the Age

  Discrimination in Employment Act (“ADEA”), 29 U.S.C. §621, et seq., including incorporated

  provisions of the Fair Labor Standards Act (“FLSA”), 29 U.S.C.§201 et seq.

  RESPONSE: The Breakers denies the allegations in Paragraph 4, except to admit for

  jurisdictional purposes only that Plaintiff purports to bring a cause of action under the Age

  Discrimination in Employment Act. The Breakers denies that Plaintiff is entitled to any

  relief, denies that Plaintiff has stated legally cognizable claims, and denies any liability.

  5.     Venue is proper in the Southern District of Florida pursuant to 42 U.S.C. § § 2000e- 5(f)(3),

  Title VII “Venue”; and 28 U.S.C. § § 1391(b) and ( c) (Venue generally).

  RESPONSE: The Breakers denies the allegations in Paragraph 5, except to admit that venue

  is proper.

                   EXHAUSTION OF ADMINISTRATIVE PROCEDURES

  6.     Plaintiff, DUQUESNE SAINT-SURIN, timely filed with the Equal Employment

  Opportunity Commission (“EEOC”) a Charge of Discrimination against Defendant, THE

  BREAKERS PALM BEACH, INC. Plaintiff, DUQUESNE SAINT-SURIN, received a Notice of




                                                  2
Case 9:23-cv-80903-DMM Document 6 Entered on FLSD Docket 07/05/2023 Page 3 of 10




  the Right to Sue from EEOC within ninety (90) days of the filing of this Complaint. A copy of the

  each Right to Sue Notice Letter from the EEOC is attached as Exhibit “1".

  RESPONSE: The Breakers denies the allegations in Paragraph 6, except to admit that

  Plaintiff filed a Charge of Discrimination against The Breakers and filed this lawsuit within

  90 days of issuance of the Notice of Right to Sue. Exhibit “1” speaks for itself.

                            DISCRIMINATION UNDER THE ADEA

  7.     Plaintiff, whose age is 58 years, is an employee within the meaning of the ADEA and

  belongs to the class of employees protected under the statute, namely, employees over the age of

  40. {See 29 U.S.C. §§630(f), 631 (a).}

  RESPONSE: The Breakers denies the allegations in Paragraph 7 except to admit that

  Plaintiff is an employee within the meaning of the ADEA as he is over the age of 40. The

  Breakers denies that Plaintiff is entitled to any relief, denies that Plaintiff has stated legally

  cognizable claims, and denies any liability.

  8.     For over 21 years Plaintiff was employed by Defendant as a food server in Defendant’s

  banquets department, and during his employment, he was not subject to any disciplinary action by

  Defendant. Plaintiff was never provided any documentation of poor performance, and never orally

  told that he was not meeting the company’s performance standards.

  RESPONSE: The Breakers denies the allegations in Paragraph 8 except to admit that

  Plaintiff was employed at The Breakers for over 21 years as a food server in the banquets

  department.

  9.     Defendant is an employer within the meaning of the ADEA, is engaged in an industry

  affecting commerce, and has twenty (20) or more employees for each working day in each of 20

  or more calendar weeks in the current or preceding calendar year. {See 29 U.S.C. §630(b).}




                                                  3
Case 9:23-cv-80903-DMM Document 6 Entered on FLSD Docket 07/05/2023 Page 4 of 10




  RESPONSE: The Breakers admits that it is engaged in an industry affecting commerce and

  has twenty (20) or more employees for each working day in each of twenty (20) or more

  calendar weeks in this year and in the preceding calendar year.

  10.    Defendant intentionally discriminated against Plaintiff because of his age (56 years old at

  the time of his termination) in violation of the ADEA in the following manner, to wit:

  RESPONSE: The Breakers denies the allegations in Paragraph 10.

          i.     On October 14, 2021, Defendant terminated Plaintiff’s employment based on the

                 perception that Plaintiff had COVID-19, and that despite his knowledge of having

                 Covid-19, Plaintiff worked on September 18, 2021, and on September 19, 2021, in

                 violation of the Defendant’s health and safety policy;

  RESPONSE: The Breakers denies the allegations in Paragraph 10(i) except to admit that it

  terminated Plaintiff’s employment on October 14, 2021 for his violations of The Breakers’

  health and safety policies.

          ii.    However, Plaintiff had worked the entire September 18, 2021, without any health

                 issues. Plaintiff reported to work on September 19, 2021, because he was feeling

                 fine and did not have any symptom or indication of a possible Covid-1 infection.

  RESPONSE: The Breakers denies the allegations in Paragraph 10(ii).

          iii.   At the end of his shift on September 19, 2021, Plaintiff asked if he could go home

                 because he had a scratchy throat and other employees were being allowed to go

                 home. Plaintiff’s supervisor authorized him to leave early.

  RESPONSE: The Breakers denies the allegations in Paragraph 10(iii) except to admit that

  Plaintiff asked to leave a shift early because he was not feeling well and was coughing.




                                                  4
Case 9:23-cv-80903-DMM Document 6 Entered on FLSD Docket 07/05/2023 Page 5 of 10




          iv.    Plaintiff was off on September 20, 2021, (a scheduled rest day), but returned to

                 work on September 21, 2021.

  RESPONSE: The Breakers denies the allegations in Paragraph 10(iv) except to admit that

  Plaintiff was off work on September 20, 2021 and worked on September 21, 2021.

          v.     On September 22, 2021, Plaintiff’s manager sent a SMS ("text") message, asking

                 how he was feeling. Plaintiff replied that he was feeling fine. However, Plaintiff’s

                 manager instructed Plaintiff to remain at home in quarantine, to get treatment and

                 to take a Covid-19 test before returning to work. Plaintiff did not have Covid-19.

  RESPONSE: The Breakers denies the allegations in Paragraph 10(v) except to admit that

  on September 22, 2021, Plaintiff’s manager instructed Plaintiff not to return to work until

  he was cleared by The Breakers’ staff following its protocols.

          vi.    Plaintiff forwarded, via SMS/text message, Walgreens' message regarding the

                 Covid-19 test results to his supervisor. On September 28, 2021, Plaintiff’s

                 supervisor replied (via text), "Duke please go to take another test." Plaintiff’s

                 supervisor instructed him to contact HR to let them know whether he wanted to use

                 his accumulated sick or vacation days for those days that he missed.

  RESPONSE: The Breakers denies the allegations in Paragraph 10(vi) except to admit that

  on or about September 28, 2021, Plaintiff advised The Breakers that the results of his

  Walgreens COVID-19 test were inconclusive, The Breakers therefore instructed Plaintiff to

  obtain another test, and inquired whether Plaintiff wanted to use sick or vacation days for

  the days he was absent from work.

          vii.   On September 29, 2021, Plaintiff went to the MD Center for a Covid-19 test.




                                                  5
Case 9:23-cv-80903-DMM Document 6 Entered on FLSD Docket 07/05/2023 Page 6 of 10




  RESPONSE: The Breakers is without knowledge of the allegations in Paragraph 10(vii) and

  therefore denies same.

         viii.   On October 1, 2021, Plaintiff’s supervisor texted him that "No one has heard from

                 you in days, including HR, with your result." The supervisor’s allegation was false,

                 as a litany of contemporaneous communications between Plaintiff and Defendant

                 had taken place. Moreover, Defendant had not scheduled Plaintiff to work during

                 this time

  RESPONSE: The Breakers denies the allegations in Paragraph 10(viii) except to admit that

  Plaintiff’s supervisor messaged him on or about October 1, 2021 when The Breakers still had

  not received his COVID test results and that it had not scheduled him to work at that time.

         ix.     On October 2, 2021, Plaintiff received a message from Defendant, informing him

                 that his PRC test was scheduled for October 4, 2021.

  RESPONSE: The Breakers denies the allegations in Paragraph 10(ix) except to admit that

  on or about October 2, 2021, The Breakers scheduled Plaintiff for a COVID test with

  Premier Health to occur on October 4, 2021.

         x.      Defendant asked Plaintiff for his insurance card and driver license, which he

                 provided. On October 5, 2021, Defendant confirmed that it had a copy of Plaintiff’s

                 insurance card and driver license.

  RESPONSE: The Breakers denies the allegations in Paragraph 10(x) except to admit that it

  requested Plaintiff’s insurance card and driver’s license in connection with the scheduled

  COVID test and confirmed receipt.

         xi.     Plaintiff sent Defendant the results of his Covid-19 test from MD Now Medical.

                 The Covid-19 test results were negative. Defendant called Plaintiff to inform him




                                                  6
Case 9:23-cv-80903-DMM Document 6 Entered on FLSD Docket 07/05/2023 Page 7 of 10




                  that he was cleared to return to work and that it would send Plaintiff’s information

                  to Plaintiff’s manager to schedule him for work.

  RESPONSE: The Breakers denies the allegations in Paragraph 10(xi) except to admit that

  Plaintiff sent The Breakers the results of his COVID-19 test from MD Now and Plaintiff was

  medically cleared to return to work.

          xii.    However, on October 13, 2021, Plaintiff received a text message from his

                  supervisor, asking him if he was available for a follow up phone call at 1:00 pm.

                  The next day (October 14, 2021) Defendant terminated Plaintiff.

  RESPONSE: The Breakers denies the allegations in Paragraph 10(xii) except to admit that

  Plaintiff’s supervisor scheduled a meeting with him for October 14, 2021 at which time

  Plaintiff’s employment terminated.

          xiii.   On September 19, 2021, Plaintiff’s supervisor called him to inform him told that he

                  should resign.

  RESPONSE: The Breakers denies the allegations in Paragraph 10(xiii).

         11.      During Plaintiff’s employment and after his termination on October 14, 2021,

  Defendant replaced older, more tenured employees, including Plaintiff, with younger, less

  experienced workers to staff its food and beverage operations.

  RESPONSE: The Breakers denies the allegations in Paragraph 11.

                                             DAMAGES

         12.      As a direct and proximate result of Defendant’s conduct, Plaintiff suffered the

  following injuries and damages:

  RESPONSE: The Breakers denies the allegations in Paragraph 12.

          i.      Plaintiff was discharged from employment with Defendant;




                                                   7
Case 9:23-cv-80903-DMM Document 6 Entered on FLSD Docket 07/05/2023 Page 8 of 10




  RESPONSE: The Breakers denies the allegations in Paragraph 12(i) except to admit that

  Plaintiff’s employment with The Breakers was terminated.

          ii.    Although Plaintiff has diligently sought other employment, Plaintiff has been

                 unable to find a job at comparable pay;

  RESPONSE: The Breakers is without knowledge of the allegations in Paragraph 12(ii) and

  therefore denies same.

          iii.   In addition, Plaintiff has incurred expenses in seeking other employment (describe

                 in detail, if any), and has had to pay for medical treatment that otherwise would

                 have been covered by the health benefits plan offered by Defendant;

  RESPONSE: The Breakers is without knowledge of the allegations in Paragraph 12(iii) and

  therefore denies same.

          iv.    Plaintiff suffered loss of his pension or retirement benefits;

  RESPONSE: The Breakers is without knowledge of the allegations in Paragraph 12(iv) and

  therefore denies same.

          v.     Plaintiff seeks compensation for all lost wages and benefits, including loss of Social

                 Security benefits. Reinstatement of Plaintiff in his previous position is

                 impracticable and unworkable. Therefore, Plaintiff seeks an award of front pay and

                 retirement benefits to compensate him up to the mandatory retirement age of ( );

  RESPONSE: The Breakers denies the allegations in Paragraph 12(v) except to admit that

  Plaintiff purports to seek compensation for lost wages and benefits and front pay. The

  Breakers denies that Plaintiff is entitled to any relief, denies that Plaintiff has stated legally

  cognizable claims, and denies any liability.




                                                   8
Case 9:23-cv-80903-DMM Document 6 Entered on FLSD Docket 07/05/2023 Page 9 of 10




          vi.    Defendant’s conduct was an intentional and willful violation of the ADEA. Plaintiff

                 is entitled to an award of liquidated damages within the meaning of he ADEA and

                 the FLSA.

  RESPONSE: The Breakers denies the allegations in Paragraph 12(vi).

                                   ATTORNEY FEES & COSTS

         11.     Plaintiff is entitled to an award of attorney fees and costs under the ADEA.

  RESPONSE: The Breakers denies the allegations in Paragraph 13.

         All allegations of the Complaint not specifically admitted are hereby denied.

                                    AFFIRMATIVE DEFENSES

         1.      Plaintiff’s claims are barred in whole or in part to the extent any of the claims are

  barred by the applicable statute of limitations.

         2.      Plaintiff’s claims are barred to the extent that he failed to exhaust administrative

  remedies. Plaintiff’s claims are limited by the validity and scope of the Charge of Discrimination

  filed by Plaintiff with the Equal Employment Opportunity Commission and are barred to the extent

  that they exceed the scope of such Charge.

         3.      Plaintiff’s claim fails in whole or in part because any actions or decisions taken by

  The Breakers in connection with Plaintiff’s employment were based on legitimate, non-

  discriminatory reasons, specifically, Plaintiff’s violation of The Breakers’ health and safety

  protocols by reporting to work with symptoms of COVID-19.

         4.      Plaintiff’s claim fails in whole or in part to state a claim upon which relief can be

  granted. Among other things, Plaintiff does not, and cannot, establish any causal connection

  between his age and any adverse employment action taken against him.




                                                     9
Case 9:23-cv-80903-DMM Document 6 Entered on FLSD Docket 07/05/2023 Page 10 of 10




           5.          Plaintiff’s claims fail to the extent Plaintiff has failed in any respect to mitigate or

   minimize his alleged damages. Any earnings by Plaintiff and any amounts earnable with

   reasonable diligence by Plaintiff will reduce damages otherwise allowable to Plaintiff.

           6.          Plaintiff’s damages may be reduced by the after-acquired evidence doctrine.

           7.          Plaintiff has failed to allege any facts that would, if proven, provide a basis for

   awarding punitive damages.

           The Breakers reserves the right to amend any current affirmative defenses or to add

   additional affirmative defenses that may become known during the course of discovery.

           WHEREFORE, The Breakers respectfully requests that the Court enter judgment in The

   Breakers’ favor against Plaintiff and that The Breakers be awarded its attorneys’ fees and such

   other and further relief as is necessary and appropriate under the circumstances.

    Dated: July 5, 2022                                     HOLLY GRIFFIN GOODMAN
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